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EXHIBIT A

Proposed Order

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

ENERGY FUTURE HOLDINGS CORP.,, et ai.,! Case No. 14-10979 (CSS)

Debtors. (Jointly Administered)

Name ee ee ee ee ee”

ORDER ENFORCING THE TCEH CONFIRMATION ORDER AND
IMPOSING COSTS AND FEES FOR THE WILLFUL DISREGARD OF THE SAME

Upon the motion (the “Motion” of the Reorganized TCEH Debtors for entry of an order
(this “Order”’) (a) enforcing the TCEH Pian injunction and the TCEH Confirmation Order
discharge against Plaintiff in connection with the Action and (b) permitting the Reorganized
TCEH Debtors to recover actual costs and fees from Plaintiff for his willful disregard of the
same, all as more fully described in the Motion; and the Court having found that it has
jurisdiction to consider the Motion and the relief requested therein pursuant to 28 U.S.C. § 1334,
Article XI of the TCEH Plan; paragraph 89 of the TCEH Confirmation Order; and Travelers
indem, Co. v. Bailey, 557 U.S. 137, 151 (2009); and the Court having found that consideration of
the Motion and the relief requested therein is a core proceeding pursuant to 28 U.S.C. § 157(b);
and the Court having found that venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the

Court having found that notice of the Motion was adequate and appropriate under the particular

' The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The
location of the debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large
number of debtors in these chapter |] cases, for which joint administration has been granted, a complete
list of the debtors and the last four digits of their federal tax identification numbers is not provided
herein, A complete list of such information may be obtained on the website of the debtors’ claims and
noticing agent at http://www.efhcaseinfo.com,

2 ye : . . .
All capitalized terms not defined herein shall have the same meaning as in the Motion.

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circumstances; and the Court having held a hearing to consider the relief requested in the Motion
(the “Hearing’’); and upon consideration of the record of the Hearing and all proceedings had
before the Court; and the Court having found that the legal and factual bases set forth in the
Motion establish just cause for the relief granted herein; and any objections to the requested
relief have been withdrawn or overruled on the merits; and after due deliberation and sufficient
cause appearing therefor, it is hereby ORDERED:

1. The Motion is GRANTED in its entirety.

2. Plaintiff shall promptly dismiss with prejudice all of claims and/or causes of
action in the Action against the Reorganized TCEH Debtors and the non-Experian defendants,
including, for the avoidance of doubt, Energy Future Holdings Corp., TXU Energy Retail
Company LLC, TXU Energy Solutions Company LLC, TXU Energy Industries Company, TXU
Energy Services Company LLC, TXU Energy Solutions Management Company LLC, TXU
Energy Trading (Canada) Company, TXU Portfolio Management Company LP, TXU Portfolio
Optimization Company LLC, TXU Energy Gas Asset Management Company, TXU Energy
Holdings Company, TXU Energy Retail Company LP, TXU Energy Retail Management
Company LLC, TXU Energy Services Company, and TXU Energy Solutions Company LP.

3, Plaintiff is forever and permanently enjoined from commencing or continuing any
action or otherwise acting to assert any of the claims and/or causes of action asserted or that
could have been asserted against the Reorganized TCEH Debtors in the Action.

4, Plaintiff is forever and permanently enjoined from contesting or challenging the
enforceability of this Order in any court other than this Court or by a timely and perfected appeal

of this Order to a court of competent jurisdiction.

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5. Within ten (10) business days of the entry of this Order, Plaintiff shall pay the
Reorganized TCEH Debtors $[ ss by certified check or wire transfer for the actual costs and
attorneys’ fees in connection with the Action and the prosecution of the Motion.

6. The Reorganized TCEH Debtors are authorized to take all actions necessary to
effectuate the relief granted pursuant to this Order.

7. Notwithstanding the possible applicability of Bankruptcy Rules 6004(h), 7062,
9014, or otherwise, the terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

8. All time periods set forth in this Order shall be calculated in accordance with
Bankruptcy Rule 9006(a).
9. The Court retains jurisdiction with respect to all matters arising frorn or related to

the implementation or enforcement of this Order,

Dated: 2017

Wilmington, Delaware Honorable Christopher S. Sontchi
United States Bankruptcy Judge

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